                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   STATESVILLE DIVISION
                          CIVIL ACTION NO. 5:24-CV-00141-KDB-DCK

         CHRISTOPHER MOORE,

                 Plaintiff,

                 v.                                                  ORDER

         UNUM LIFE INSURANCE
         COMPANY OF AMERICA, AND
         KEURIG DR. PEPPER, INC.,

                 Defendants.



        THIS MATTER is before the Court on Plaintiff’s Motion to Remand (Doc. No. 22), which

Defendants oppose. The Court has carefully considered this motion, and the parties’ briefs. For

the reasons discussed below, the Court will DENY the motion.

                                    I.      LEGAL STANDARD

        Whether a court has subject matter jurisdiction is a “threshold matter” that a court must

consider prior to reaching the merits of a dispute. See Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 94–95, (1998); Sucampo Pharmaceuticals, Inc. v. Astellas Pharma, Inc., 471 F.3d 544,

548 (4th Cir. 2006). District courts are “courts of limited jurisdiction” and “possess only that power

authorized by Constitution and Statute.” Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S.

546, 552 (2005). Article III of the United States Constitution states that “[t]he judicial Power shall

extend to all Cases, in Law and Equity, arising under . . . the Laws of the United States.” U.S.

Const. art. III, § 2, cl. 1. Accordingly, 28 U.S.C. § 1331 grants federal district courts “original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United States.”




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        The two primary sources of subject matter jurisdiction are diversity jurisdiction and federal

question jurisdiction. Diversity jurisdiction generally permits individuals to bring claims in federal

court where the claim exceeds $75,000 and the parties are citizens of different states. See 28 U.S.C.

§ 1332. Federal question jurisdiction permits an individual - regardless of the value of the claim -

to bring a claim in federal court if it arises under federal law, including the U.S. Constitution. See

28 U.S.C. § 1331. Federal question jurisdiction requires that “the federal question appears on the

face of a well-pleaded complaint.” Am. Nat'l Red Cross v. S.G., 505 U.S. 247, 258 (1992).

        Subject matter jurisdiction cannot be conferred by the parties, nor can a defect in subject

matter jurisdiction be waived or forfeited by the parties. See United States v. Cotton, 535 U.S. 625,

630 (2002); U.S. v. Wilson, 699 F.3d 789, 793 (2012). Under 28 U.S.C. § 1441, a defendant may

remove a case from state court to federal district court if the district court has original jurisdiction.

However, when faced with a motion to remand, a party seeking removal to federal court bears the

burden of establishing federal jurisdiction. See Ellenburg v. Spartan Motors Chassis, Inc., 519

F.3d 192, 200 (4th Cir. 2008) (quoting In re Blackwater Security Consulting, LLC, 460 F.3d 576,

583 (4th Cir. 2006)). Removal jurisdiction raises significant federalism concerns; therefore, in

considering a motion to remand, the court must “strictly construe the removal statute and resolve

all doubts in favor of remanding the case to state court.” Goucher Coll. v. Cont’l Cas. Co., 541 F.

Supp. 3d 642, 647 (D. Md. 2021) (quoting Richardson v. Phillip Morris Inc., 950 F. Supp. 700,

702 (D. Md. 1997)); Hartley v. CSX Transp., Inc., 187 F.3d 422, 425 (4th Cir. 1999); Syngenta

Crop. Prot., Inc. v. Henson, 537 U.S. 28, 32 (2002).

                        II.     FACTS AND PROCEDURAL HISTORY

        Accepting the factual allegations of the Complaint (Doc. No. 1-6) as true, this matter arises

from Defendants’ denial of Plaintiff’s claim for short-term disability (“STD”) benefits to which



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Plaintiff believes he is entitled. Plaintiff states he worked full-time for Defendant Keurig Dr.

Pepper, Inc. (“KDP”) as a regional sales manager, under which the STD plan was offered. Id. at ¶

5. Defendant Unum Life Insurance Company of America (“Unum”) is an insurance company

which is contracted to perform administrative services for the STD plan, including benefit

eligibility determinations. Id. at ¶ 4, 12-13.

        On or about April 6, 2022, Plaintiff became disabled and unable to perform his usual work

duties. Id. at ¶ 16-17. He applied for STD benefits, and was approved from April 13, 2022, through

July 31, 2022. Id. at ¶ 18-19. On August 9, 2022, Plaintiff was notified that he was no longer

considered disabled, and his claim for continued STD benefits was denied. Id. at ¶ 20. Plaintiff

contends that he was and remained disabled “under the terms of the STD Plan through the

maximum period for which benefits [were] payable.” Id. at ¶ 21. Plaintiff appealed the denial,

which was upheld by Unum. Doc. No. 1-8 at 3-4.

        Plaintiff then filed suit in the General Court of Justice, Superior Court Division, Lincoln

County, North Carolina, against KDP and Unum, alleging breach of contract and violation of the

North Carolina Wage and Hour Act under N.C.G.S. § 95-25.2(16) against KDP, and violation of

North Carolina’s Unfair and Deceptive Trade Practices Act under N.C.G.S. § 75-1.1 et seq. against

Unum. See Doc. 1-6 at ¶ 24-55.

        Defendant Unum, with the consent of KDP, timely removed the action pursuant to 28

U.S.C. § 1332, asserting diversity jurisdiction because the parties are diverse and the amount in

controversy is greater than $75,000. Unum also alleges this Court has federal question jurisdiction

under 28 U.S.C. § 1331 because the STD plan “is governed by [Employee Retirement Income

Security Act of 1974] ERISA.” Doc. No. 1 at 4-6.




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                                       III.    DISCUSSION

       Defendants need only demonstrate either diversity jurisdiction under § 1332 or federal

question jurisdiction under § 1331 for the matter to remain in federal court. Under 28 U.S.C. §

1332, federal district courts have original jurisdiction of all civil actions “between . . . citizens of

different States” where the amount in controversy exceeds $75,000. In most cases, the sum claimed

by the plaintiff controls the “amount in controversy” determination. See St. Paul Mercury Indem.

Co. v. Red Cab Co., 303 U.S. 283 (1938). It is a long-standing principle that courts determine the

“sum claimed” at the time the complaint was filed. Id. at 291 (“[T]he status of the case as disclosed

by the plaintiff's complaint is controlling in the case of a removal . . . .”); see also Wiggins v. N.

Am. Equitable Life Assurance Co., 644 F.2d 1014, 1016 (4th Cir. 1981) (“Ordinarily the

jurisdictional amount is determined by the amount of the plaintiff's original claim, provided that

the claim is made in good faith.”). If the complaint in good faith alleges a sufficient amount in

controversy, “[e]vents occurring subsequent” to the filing of the complaint “which reduce the

amount recoverable below the statutory limit do not oust jurisdiction.” St. Paul Mercury, 303 U.S.

at 289–90.

       In his Complaint, Plaintiff asserts three claims: (1) breach of contract; (2) violation of the

North Carolina Wage and Hour Act under N.C.G.S. § 95-25.2(16) against KDP; and (3) violation

of the Unfair and Deceptive Trade Practices Act under N.C.G.S. § 75-1.1 et seq. against Unum.

See Doc. 1-6 at ¶ 24-55. In each claim, Plaintiff alleges damages “greater than $25,000 but less

than $75,000.” Id. at ¶ 33, 40, 51. In addition, Plaintiff seeks liquidated damages and attorneys’

fees under claims two and three, and in claim three, alleges he is entitled to treble damages. Id. at

¶ 41, 52, 54. Given that Plaintiff in claim three is seeking at least $25,001, and that treble damages

would bring an award to at least $75,003, the Plaintiff has alleged greater than $75,000 in



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controversy on the face of his complaint even before attorneys’ fees, other costs, and the remaining

claims are considered. Plaintiff suggests in his Motion to Remand that the value of his combined

claims is less than $75,000, but that is immaterial.1 See Doc. No. 22-1 at 9.

        Finally, it is undisputed that Plaintiff is a citizen and resident of North Carolina; that Unum

is a Maine Corporation with its principal place of business in Portland, Maine; and that KDRP is

a Delaware Corporation with its principal place of business in Frisco, Texas. Doc. No. 1 at ¶ 19.

Thus, the parties are citizens of different states.

        Because the Defendants have demonstrated both that the amount in controversy is greater

than $75,000 and that the parties are diverse, the Court has diversity jurisdiction under 28 U.S.C.

§ 1332. The Court need not and does not reach the question of whether the STD plan is an ERISA

plan, and by extension, whether there exists federal question jurisdiction under 28 U.S.C. § 1331.

                                              IV.     ORDER

        NOW THEREFORE IT IS ORDERED THAT:

            1. Plaintiff’s Motion to Remand (Doc. No. 22) is DENIED;

            2. This case shall proceed towards trial on the merits in the absence of a voluntary

                resolution of the dispute among the parties.

        SO ORDERED ADJUDGED AND DECREED.
                  Signed: December 30, 2024




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         The Court assumes that Plaintiff’s Complaint and the claims therein, including the amount
of damages, were made in good faith at the time of the filing of the Complaint, which controls the
decision here.
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